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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, REV. CLEE
EARNEST LOWE, DR. ALICE
WASHINGTON, STEVEN HARRIS, BLACK
VOTERS MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,

                                Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                        SDD-SDJ
v.

NANCY LANDRY, in her official capacity as
Secretary of State of Louisiana,

                                Defendant.


                             [PROPOSED] SCHEDULING ORDER

        Having sought submissions from the parties for scheduling proposals in its February 8,

2024 Order, ECF No. 233, the Court HEREBY ORDERS as follows:

     1. The following schedule shall govern briefing on Plaintiffs’ motion for special elections:

            a. February 13, 2024: Deadline for Plaintiffs’ motion for special elections

            b. February 27, 2024: Deadline for Defendants’ response

            c. March 1, 2024: Deadline for Plaintiffs’ reply

     2. The hearing to establish the proper remedy in this case is set for March 27, 2024,

        commencing at 9:00 a.m. in Courtroom 3.

     3. The following schedule shall govern pre-hearing submissions:

            a. March 5, 2024: Deadline for Plaintiffs’ submission regarding proposed remedial

                maps
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   b. March 15, 2024: Deadline for Legislature to enact state House and Senate maps

      that are compliant with the Court’s February 8, 2024 Order

   c. March 19, 2024: Deadline for Plaintiffs to notify Court whether they oppose the

      new enacted maps, if any

   d. March 19, 2024: Deadline for Defendants’ submission regarding proposed remedial

      maps

   e. March 25, 2024: Deadline for Plaintiffs’ reply regarding proposed remedial maps



Signed in Baton Rouge, Louisiana, this ____ day of __________________, 2024.


                  ___________________________________
                        Chief Judge Shelly D. Dick




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